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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                             Chapter 11

TANJU NUREL                                                        Case No.: 17-71200-ast
dba NUREL FARMERS MARKET,

                                             Debtor.
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                         CONTESTED MATTER SCHEDULING ORDER

       The Court enters this Order in accordance with Federal Rule of Civil Procedure 16, as
incorporated by Rules 7016 and 9014 of the Federal Rules of Bankruptcy Procedure.

        Pending before the Court are the following:

        Tanju Nurel’s (“Debtor”) Motion to Extend Time to Assume or Reject Unexpired Lease
        (the “Motion to Extend”) [dkt item 31]

        226 East Montauk Highway Corporation’s (“Landlord”) Opposition to Debtor’s Motion
        to Extend (the “Opposition to Extend”) [dkt item 43]

        Debtor’s Motion to Assume an Unexpired Lease of Nonresidential Property (the “Motion
        to Assume”) [dkt item 59]

        Landlord’s Opposition to Debtor’s Motion to Assume (the “Opposition to Assume”) [dkt
        item 62]

        Landlord’s Motion for an Order Deeming Nonresidential Lease Rejected as a Matter of
        Law (the “Motion to Reject”) [dkt item 70]

        Debtor’s Supplemental Motion to Assume [dkt item 72]

Briefs, Hearing Date and Time Limits:

1.      On or before November 15, 2017, Debtor shall file any briefs in support of its Motion to
        Assume. On or before December 6, 2017, Landlord shall file any reply briefs in
        opposition to Debtor’s briefs. On or before December 20, 2017, Debtor shall file any
        response to Landlord’s briefs, at which time the issue regarding the timing of Debtor’s
        Motion to Extend and Motion to Assume under 11 U.S.C. § 365(d)(4) shall be on
        submission with the Court.

2.      On or before January 24, 2018, the parties shall file a letter regarding the status of the
        state court landlord-tenant proceeding.

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3.    An evidentiary hearing (“Hearing”) on the Motion to Assume, the Opposition to Assume,
      the Motion to Reject, and the Supplemental Motion to Assume shall be held on February
      21, 2018 at 11:00 a.m., in Courtroom 760, United States Bankruptcy Court, 290 Federal
      Plaza, Central Islip, New York.

      Debtor shall be given a total of sixty (60) minutes to present all arguments and evidence.

      Landlord shall be given a total of sixty (60) minutes to present all arguments and
      evidence.

      The hearings on Landlord’s Motion to Reject, and Debtor’s First Application for
      Compensation for Sharon Silver, Esq. as Special Counsel [dkt item 69] are all adjourned
      from November 15, 2017 to February 21, 2018 at 11:00 a.m.

Direct Testimony by Affidavit:

4.    The parties shall submit any direct testimony from themselves and any witness under
      their control (including experts and appraisers) by Affidavit signed by the witness(es).
      Affidavits shall be filed with the Court no later than February 7, 2018; copies of the
      filed Affidavits shall be served upon the opposing party (or parties) by facsimile,
      electronic mail, or first class mail contemporaneously with the filing of same with the
      Court. Any witness for whom an affidavit of direct testimony has been filed must appear
      at the Hearing for cross-examination. Any objection to any portion of a witness affidavit,
      including evidentiary objections, shall be filed no later than February 14, 2018.

      Nothing contained herein, however, shall limit the applicability of Rule 7032 of the
      Federal Rules of Bankruptcy Procedure.

5.    The parties shall exchange all exhibits by no later than February 7, 2018. The parties
      shall bring sufficient copies of all exhibits to Court for the Hearing so that a copy is
      available for the Courtroom Deputy, the witness and each counsel. The parties shall
      provide one (1) additional set of exhibits in hard copy, and one (1) additional set on a CD
      Rom, flash drive or other media to Chambers no less than three (3) business days prior to
      the Hearing. Exhibits shall be assembled in notebooks tabbed with appropriate exhibit
      numbers (Debtor shall designate its exhibits using letters and Landlord shall designate its
      exhibits using numbers).

6.    The parties may each file hearing briefs and submit proposed findings of fact and
      conclusions of law contemporaneous with the filing of the affidavits.

7.    Pleadings filed in accordance with this Order shall be filed as editable text, and shall not
      be filed as scanned images.




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Sanctions for Non-Compliance:

8.    Failure to strictly comply with any of the provisions of the Order may result in the
      automatic entry of a dismissal, sanctions, a default, or other relief as the circumstances
      warrant, in accordance with Federal Rule of Civil Procedure 16, as incorporated by
      Federal Rules of Bankruptcy Procedure 7016 and 9014.

Service:

9.    Debtor shall serve a copy of this Order by no later than October 26, 2017 (and shall file
      proof of service by October 30, 2017) upon the following by regular mail:
          Landlord;
          All creditors of the estate; and
          The Office of the United States Trustee.




                                                              ____________________________
 Dated: October 24, 2017                                               Alan S. Trust
        Central Islip, New York                               United States Bankruptcy Judge

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